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                 IN THE UNITED STATES BANKRUPTCY COURT
                FOR THE EASTERN DISTRICT OF PENNSYLVANIA

   In Re:                                        : Bankruptcy No. 19-16444-AMC
   Julia Ford and Owen E. Ford                   : Chapter 13
                        Debtors                  :
                                                 :
   The Bank of New York Mellon as Trustee for :
   CWABS, Inc. Asset-Backed Certificates, Series :
   2007-2                                        :
                        Movant                   :
                  vs.                            :
   Julia Ford and Owen E. Ford                   :
                        Debtors/Respondents      :
                  and                            :
   Kenneth E. West, Esquire                      :
                        Trustee/Respondent       :

                   MOTION FOR RELIEF FROM AUTOMATIC STAY
                             UNDER 11 U.S.C. § 362

          Movant, by its Attorneys, Hladik, Onorato & Federman, LLP, hereby requests a
   Termination of the Automatic Stay and leave to proceed with its State Court rights provided
   under the terms of the Mortgage.

          1.    Movant is The Bank of New York Mellon as Trustee for CWABS, Inc.
   Asset-Backed Certificates, Series 2007-2 (“Movant”).

          2.      Debtors, Julia Ford and Owen E. Ford (“Debtors”) are the owner of the
   premises located at 1535 Elmwood Avenue, Folcroft, PA 19032 (the “Property”).

          3.     Kenneth E. West, Esquire is the Trustee appointed by the Court.

          4.     Debtors filed a Petition for Relief under Chapter 13 of the Bankruptcy Code
   on October 14, 2019.

           5.     Movant is the holder of a mortgage lien on the Property in the original
   principal amount of $137,700.00, which was recorded on March 07, 2007 (the “Mortgage”),
   which was executed by Debtors, Julia Ford and Owen E. Ford (“Debtors”). A true and
   correct copy of the Mortgage is attached to Movant’s Proof of Claim #6 filed on the Claims
   Register.

         6.       The Mortgage was assigned to Movant by way of a written assignment of
   mortgage, recorded on November 28, 2011. A true and correct copy of the Assignment of
   Mortgage is attached to Movant’s Proof of Claim #6 filed on the Claims Register.
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          7.                                                                       As of
   January 23, 2024, Movant has not received the following monthly post-petition Mortgage
   payments:

                 06/01/21 – 09/01/21 at $934.53 each………………..….$3,738.12
                 10/01/21 – 07/01/22 at $954.03 each…………….……..$9,540.30
                 08/01/22 – 05/01/23 at $958.56 each..………………….$9,585.60
                 06/01/23 – 01/01/24 at $976.28 each…………………...$7,810.24
                 Less Suspense…………………………………………..($94.93)
                 Total post-petition arrearage……………………...…….$30,579.33

          8.      The entity that has the right to foreclose is The Bank of New York Mellon as
   Trustee for CWABS, Inc. Asset-Backed Certificates, Series 2007-2 by virtue of being owner
   and holder of note.

         9.       Movant has cause to have the Automatic Stay terminated, to permit Movant
   to complete foreclosure on its Mortgage.

          10.    This Motion and the averments contained herein do not constitute a waiver
   by the Movant of its right to seek reimbursement of any amounts not included in this
   Motion, including fees and costs, due under the terms of the Mortgage and applicable law.

          11.    Pursuant to 11 U.S.C. 362, the Automatic Stay of the Bankruptcy Code
   should be terminated as to Movant because:

                 a.     Movant lacks adequate protection of its security interest under 11
                 U.S.C. 362(d)(1); and

                 b.     Debtor has no equity in the mortgaged property and the property is
                 not necessary for an effective reorganization. 11 U.S.C. 362(d)(2)

   WHEREFORE, Movant respectfully requests that this Court enter an Order:

          a.      Modifying the Automatic Stay under 11 U.S.C. § 362 of the Bankruptcy
          Code with respect to the Property as to permit Movant to foreclose on its Mortgage
          and allow Movant or any other purchaser at Sheriff’s Sale to take legal or consensual
          action for enforcement of its right to possession of, or title to; and

          b.     Granting any other relief that this Court deems equitable and just.


                                               Respectfully Submitted,

   Date: 01/30/2024                          /s/ Sarah K. McCaffery, Esquire
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